






Opinion issued February 25, 2010










In The

Court of Appeals

For The

First District of Texas






NO. 01-09-00729-CV






H T LAND COMPANY,  Appellant


V.


STARTEX POWER,  Appellee






On Appeal from the County Civil Court at Law No. 3

 Harris County, Texas

Trial Court Cause No. 867935






MEMORANDUM OPINION	Appellant has neither established indigence, nor paid all the required fees.  See
Tex. R. App. P. 5 (requiring payment of fees in civil cases unless indigent), 20.1
(listing requirements for establishing indigence); see also Tex. Gov't Code Ann. §§
51.207 (Vernon 2005), 51.208 (Vernon Supp. 2009); 51.941(a) (Vernon 2005),
101.041 (Vernon Supp. 2009) (listing fees in court of appeals); Fees Civ. Cases
B(1), (3) (listing fees in court of appeals).  After being notified that this appeal was
subject to dismissal, appellant H T Land Company did not adequately respond.  See
Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c) (allowing involuntary
dismissal of case).

	We dismiss the appeal for nonpayment of all required fees.  We deny all
pending motions.

PER CURIAM

Panel consists of Chief Justice Radack and Justices Alcala and Higley.


